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                                                                                           DEC1`9203
                                         UNITED STATES DISTRICT COURT
                                         NORTHERN DISTRICT OF GEORGIA
                                                 ROME DIVISION


             IN RE : TRI-STATE                                                  MDL DOCKET N0 .      1467
             CREMATORY LITIGATION

             This Order relates to :


             ALL CASES


                                                           ORDER


                     This case is before the Court on Defendant W .L . Wilson & Sons

             Funeral       Home's    Motion       for Summary     Judgment     [954),   Defendant    W .L .

             Wilson & Sons Funeral Home's Motion to Exceed Page Limit for Reply

             Brief      in    Support        of   Motion    for    Summary     Judgment    [500]',      and

             Defendant W .L . Wilson & Sons Funeral Home's Notice of Objection to,

             or    in   the   Alternative,         Motion    to    Strike    Affidavit    of    Plaintiff

             Paula Yockel          [503] .




             I.      Notice of Objection to, or in the Alternative,                            Motion    to
                     Strike Affidavit of Plaintiff Paula Yockel

                     Defendant W .L .        Wilson   &    Sons   Funeral Home    ("Defendant Wilson

             &    Sons")     has objected to the Affidavit                of Plaintiff Paula Yockel .

             According        to    Defendant      Wilson    G    Sons,    Plaintiff    Paula   lockel's

             Affidavit contradicts her earlier deposition testimony .




                     The Court grants this Motion .

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                       At her deposition,              Plaintiff Paula Yockel testified that she

             was not claiming any physical injury as a result of the discoveries

             at       Tri-State         Crematory .              (Dep .        of     Paula     Yockel            at    10-11 .)

             Plaintiff          Paula      Yockel     also testified that                    she    sought        no medical

             attention after learning of the discoveries at Tri-State Crematory .

              (Id .    at 11,     75 .)     In her Affidavit,                 Plaintiff Paula Yockel stated :

                       3 .      In my deposition I was asked if I had suffered a
                                physical injury .   At the time, I thought I was
                                being asked if I had suffered something obvious
                                like a broken leg .

                       4 .     While I did not suffer a broken bone, the stress
                               and trauma of the Tri-State tragedy has impacted me
                               terribly .

                       5.      For instance, since the disaster at Tri-State, I
                               have suffered from sleep problems .   I have vivid
                               nightmares concerning Tri-State and then wake up in
                               the middle of the night and have trouble returning
                               to sleep .  In addition, I have suffered loss of
                               appetite, and stomach problems .

             (Aff .     of    Paula Yockel 4T 3-5 .)

                       Under     Eleventh           Circuit         law,      "a     party     cannot           give     `clear

             answers          to unambiguous          questions'           in a deposition and                    thereafter

             raise an issue of material                      fact     in a      contradictory affidavit                    that

             fails to explain the contradiction ."                                  Rollins v .      TechSouth,           Inc . ,

             833      F .2d   1525,     1530     (11th      Cir .    1987)          (quoting Van          T .    Junkins     and

             Assocs . .       Inc .   v.   U .S .    Indus . .      Inc . ,    736     F .2d   656,       657     (11th Cir .

             1989)) .         If this contradiction occurs,                         the court may disregard the

             contradictory            affidavit        as    a   sham         affidavit .          Id .         The    Eleventh

             Circuit has instructed district courts to apply the sham affidavit



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             rule sparingly "because of the harsh effect this rule may have on

             a party's case ."             Rollins ,    833   F .2d at       1530 .    The Eleventh Circuit

             also has stated :         "To allow every failure of memory or variation in

             a witness's testimony to be disregarded as a sham would require far

             too much from lay witnesses and would deprive the trier o? fact of

             the    traditional        opportunity to determine                    which point       in time        and

             with      which      words     the    witness        (in      this    case,     the   affiant)         was

             stating the truth ."             Tippens v . Celotex Corp . ,             805 F .2d 999,            953-59

             (11th Cir .       1986)      (parenthetical          in original) .

                     The Court thus must find "some inherent inconsistency, between

             an affidavit          and a deposition before disregarding the affidavit ."

             Rollins ,       833   F .2d    at    1530 .      If      no    such    inherent       inconsistency

             exists,     then the Court must apply the general                             rule of allowing an

             affidavit       to    create     a   genuine dispute,            even    though       the     affidavit

             conflicts with a party's earlier deposition testimony .                                     Id .    Under

             those      circumstances,            the      jury       may    consider        any    conflict         or

             discrepancy between the affidavit and the deposition testimony at

             trial .

                     Here,     the Court cannot conclude that Plaintiff Paula Yockel's

             Affidavit         and     her        deposition           testimony       are     so        inherently

             inconsistent,         without explanation,                 as to allow the Court to strike

             Plaintiff's Affidavit .                Plaintiff Paula Yockel has explained that

             she    misunderstood           what     Defendants'            counsel        meant    by     the     term

             "physical       injury,"       and    that     she       thought      Defendants'       counsel       was



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             asking whether                 she had suffered a broken                             bone       or    similar         injury .

              (Yockel Aff .            T 3 .)        While the Court appreciates Defendant Wilson &

             Sons'         concerns         that       the      testimony           contained             in       Plaintiff         Paula

             Yockel's         Affidavit              is    a    last-ditch              effort          to     create         a    genuine

             dispute         concerning               whether        Plaintiff               Paula        Yockel             incurred     a

             physical         impact,           the       Court     simply         cannot          conclude            that       Eleventh

             Circuit authority would permit the Court to strike Plaintiff Paula

             Yockel's Affidavit .                     The Court therefore overrules Defendant Wilson

             &   Sons'      Notice          of Objection            to,       or in the Alternative,                          Motion to

             Strike Affidavit of Plaintiff Paula Yockel .




             II .     Motion for Summary Judgment

                      A.      Background

                      Keeping          in     mind        that      when          deciding          a    motion             for    summary

             judgment,          the       Court           "must     view          the    evidence              and          all    factual

             inferences           in    the     light        most    favorable               to    the party opposing the

             motion,"        the        Court         provides       the          following             statement             of    facts .

             Reynolds v .          Bridgestone/Firestone                           Inc E ,        989    F .2d 965,           469    (11th

             Cir .    1993) .       This        statement does not                   represent               actual findings of

             fact ;    rather,          it      is    intended        simply            to    place          the       Court's       legal

             analysis        within          the      context       of        a    specific             case      or    controversy .

             Swint v . City of Wadley ,                     51 F .3d 988,            992      (11th Cir .           1995)         ("[W]hat

             we state as           `facts'           in this      [order]           for purposes of reviewing the

             ruling[]        on    the       summary           judgment           motion[]         may       not       be    the    actual



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             facts .        They are,        however,       the facts for present purposes,                                    and we

             set them out below .") .

                               1.       Factual Background

                                        a.      Defendant  Wilson   S  Sons'  Operations                                              and
                                                Connection with Tri-State Crematory ,

                      In    1978,       Defendant         Wilson         &    Sons      began         operations               in     Ft .

             Oglethorpe,            Georgia,        under     the    name           W .L .    Wilson         &       Sons     Funeral

             Home .        (Def .   Wilson      &   Sons'     Statement Material                      Facts $          1 .)      LeroY

             and Glenda Wilson own and operate W .L .                                Wilson & Sons Funeral Home .

             (Dep .    of Leroy Wilson at                 18-20 .)

                      Leroy Wilson has been a licensed funeral director in, Georgia

             since the late 1960s .                  (Wilson Dep, at 15-16,                        25 .)     Since tlhe early

             1970s,        Leroy      Wilson        has     been     a        licensed             funeral           director          in

             Tennessee .            (Id.)     Leroy Wilson's                 son,     David Wilson,                  presently is

             a licensed funeral director employed at W .L .                                       Wilson & Sons Funeral

             Home .        (Id .)

                      In 1982,        Ray Marsh contacted Leroy Wilson .                                     (Wilson          Dep .    at

             92 .)     Mr .    Ray      Marsh       informed      Mr .        Wilson         that     Mr .       Ray    Marsh         was

             installing         a    crematory        on    his      property .                   (Id .)      Mr .      Ray     Marsh

             suggested that Mr .              Wilson use Mr .                Ray Marsh's crematory in Noble,

             Georgia .         (Id .)        Prior     to    1982,           Defendant            Wilson         &   Sons      used      a

             crematory just north of Atlanta when customers requested cremation

             services .         (Id.)

                      From     1982     to    1996,       Defendant           Wilson          &     Sons     used       Tri-State

             Crematory        facility .            (Wilson    Dep .         at     92-93 .)          Defendant             Wilson      &

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             Sons used Tri-State Crematory because of                                     its     short distance               from

             the   W .L .    Wilson        &   Sons     Funeral           Home .         (Id .)     Leroy       Wilson         also

             believed        that      Mr .    Ray    Marsh       had      an      excellent        reputation            in     the

             community and among the local funeral homes .                                         (Id.)

                    From 1982 to 1996,                 Defendant Wilson & Sons sent 105 bodies to

             Tri-State Crematory for cremation .                                (Def .    Wilson & Sons'             Statement

             Material Facts T 5 .)                 Defendant Wilson & Sons sent its last body to

             Tri-State Crematory in June 1996 .                             (Id.)        During that period,                  Leroy

             Wilson,        David Wilson,            and     other        employees          of    Defendant          Wilson        &

             Sons visited Tri-State Crematory to deliver bodies for cremation or

             to pick up cremated remains .                         (Wilson Dep .           at     78-79 ; Aff .       of Leroy

             Wilson 9f9', 3,       6 .)

                    When      Defendant         Wilson        &   Sons       needed        to     send    a    body    to      Tri-

             State Crematory              for cremation,              Defendant Wilson & Sons'                    employees

             called Mr .         Ray      Marsh,     informed         him that            Defendant           Wilson      &    Sons

             needed    a     cremation         for     a     particular            decedent,        and       inquired         when

             Defendant Wilson & Sons could bring the body to Tri-State Crematory

             for cremation .              (Wilson Aff .        1 3 .)       Defendant Wilson & Sons did not

             tell Tri-State Crematory how to perform the cremation .                                              (Id .       (R 9 .)

             Defendant Wilson & Sons also did not instruct Mr .                                       Ray Marsh to use

             a   certain         crematory         manufacturer              or     to     use     specific          tools        or

             materials       associated with the cremation process .                                     (Id. 4       5 .)

                    After        contacting           Mr .    Ray       Marsh,        Leroy        Wilson       or     another

             employee       of    Defendant          Wilson       &   Sons      transported the body to Tri-



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              Schuchman .          (Id. at 94-45 .)

                                       c.        Plaintiff   Carol  Bechtel's                             Dealings        with
                                                 Defendant Wilson b Sons

                       On   April    4,      1993,      Plaintiff         Carol     Bechtel's             father,       Robert

              Swofford,       died .         (Def .    Wilson    &       Sons'    Statement          Material         Facts

              12 .)      Plaintiff Carol Bechtel                retained Defendant Wilson &                           Sons to

              handle Mr . Swofford's funeral arrangements .                                 (Id .)        Plaintiff Carol

              Bechtel       and     her      sister,      Florence          Buttermore,              coordinated          with

              Defendant          Wilson      &   Sons    for    Mr .      Swofford's          funeral           service    and

              cremation .         (Dep . of Carol Bechtel at 63-65 .)                        Both Plaintiff Carol

              Bechtel       and Ms .      Buttermore       executed authorizations                         for    cremation

              that reflected the name and location of Tri-State Crematory .                                               (Id.

              at      65-66 .)      Plaintiff           Carol        Bechtel       also         signed          the   funeral

              services and cremation contract,                       and signed the check in payment of

              Mr .    Swofford's arrangements .                 (Id. at 66 .)

                       After Mr .      Swofford's death,                 Plaintiff Carol Bechtel assisted

              her mother,         Mrs . Willie Swofford,                 in obtaining a "pre-need" funeral

              and     cremation      package .           (Bechtel         Dep .   at    77 .)        On    May    20,    1999,

              Plaintiff Carol Bechtel                   signed the         funeral       contract          and cremation

              authorization          for Ms .         Swofford .          (Id.)        On   April         30,    1995,    Mrs .

             'Swofford died .               (Def .    Wilson    &    Sons'        Statement          Material         Facts

              12 .)

                                       d.        Discoveries at Tri-State Crematory

                       On February 15,           2002, uncremated remains of numerous decedents

             (were discovered at Tri-State Crematory's location .                                         (Second Aff .       of

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            State        Crematory          facility           and       left      the        body         at    the     facility          for

            cremation .              (Wilson       Aff .       'R    4 .)        After         cremation,              Mr .    Ray       Marsh

            returned the cremated remains                                to W .L .       Wilson &               Sons    Funeral          Home,

            or      a    representative             of        Defendant            Wilson            &     Sons        picked        up    the

            cremated remains at Tri-State Crematory .                                              (Id .      T 6;     Wilson Dep,           at

            72 .)

                        During the spring and summer of 1996,                                      Defendant Wilson & Sons

            installed           a   crematory            at    W .L .     Wilson          &    Sons        Funeral        Home       in    Et .

           Oglethorpe .               ;IAilson       Dep .          at    28,     78 .j         Defendant              Wilson        &    Sons

            subsequently conducted cremations at its own facility,                                                            and sent no

            additional bodies to Tri-State Crematory for cremation .                                                             {Id .)

                                       b.         Plaintiff   Paula  Yockel's                                        Dealings             with
                                                  Defendant Wilson 6 Sons

                        On December 29,           1992,        Plaintiff Paula Yockel's father, Gilbert

            Schuchman,          died .          (Def .    Wilson &              Sons'         Statement Material                  Facts

            19 .)         Plaintiff         Paula        Yockel           did     not         communicate              directly           with

           (Defendant           Wilson      &    Sons         concerning            the        funeral             arrangements            and

           (cremation           for    Mr .       Schuchman .                   (Dep .        of     Paula           Yockel      at       94 .)

           Instead,         Darlene Willhite, who claims to be Mr .                                           Schuchman's common-

           law          wife,       contracted            with           Defendant             Wilson            &     Sons      for       Mr .

           ISchuchman's             funeral arrangements .                        (Id .       at    47 .)          At the direction

           lof Plaintiff Paula Yockel and her grandfather,                                                  Ms .     Willhite signed

           (the funeral             services contract and cremation authorization                                                 for Mr .

           Schuchman .              (Id. at 45,          97,     50-51,         82 .)         Plaintiff Paula Yockel anc

           her       grandfather            paid      for        the        services           to        be     provided         for       Mr .

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             Kris      Sperry         55         4,      6-9 ;         Dep .      of       Kris      Sperry         at     332-333 .)

             Investigators               located at            least        334       sets    of human           remains        at Tri-

             State      Crematory .                   (Dec .     16,     2002,         Hr'g       Tr .   at      126-27,        157-59 ;

             Sperry        Dep .    at    283 .)          Officials             identified 211                 of   those       sets    of

             remains .         (Dec .          16,    2002,      Hr'g Tr .         at      126-27,       157-59 ;        Sperry Dep .

             at 283 .)        None of the identified sets of remains were sent to Tri-

             State     Crematory by                  Defendant Wilson                  &   Sons .        (Wilson        Dep .   at     28,

             78 .)

                      On or about February 22,                          2002,      the cremated remains of Mr .                        and

             Mrs .     Swofford          were          exhumed .                (Def .     Wilson          &    Sons'      Statement

             Material        Facts        91    17 .)        The       authorities            at     the       Georgia     Emergency

             Management             Agency            ("GEMA")          tested         both         sets       of   remains,           and

             concluded that both sets were human .                                         (Id .)

                      In    March        2002,         the     remains           of    Mr .    Schuchman            were    exhumed .

             (Def . Wilson & Sons'                     Statement Material Facts 91 22 .)                             Cyril Wecht,

             a   Pennsylvania                  coroner,           tested           Mr .       Schuchman's            remains           and

             determined that the remains were human .                                          (Id. IT 22-23 .)

                              2 .        Procedural Background

                      On February 19,                 2002,      Plaintiff Eleanor Kitter Dent filed suit

             against        the      Tri-State               Defendants             in     the       Northern        District           of

             Georgia,        Rome        Division .               ( Dent        Compl .)            On   February         26,     2002,

             Plaintiffs Carol A .                     Bechtel,          Paula Yockel,                and Anthony           Schuchman

             filed     a     lawsuit            against        the       Tri-State             Defendants           and     numerous

             Funeral Home Defendants                         in the Northern District                           of Georgia,        Rome



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             Division .           ( Bechtel Compl .)            On March 6,           2002,       Plaintiffs Lorie Ann

             Walley,      Carlton          Dale Rice,          Timothy Todd Rice,                   Damian Walley,         and

             Virginia         Rice      Ellington            filed   suit        in    the    Southern        District      of

             Alabama,       Southern            Division .       ( Wallev Compl .)

                     On March 19,              2002, Plaintiffs in the Bechtel proceedings filed

             a Motion for Transfer and Coordination or Consolidation pursuant to

             28    U .S .C .A .     §     1907 .        On    June    21,      2002,        the     Judicial       Panel    on

             Multidistrict              Litigation           issued a       Transfer         Order     and    transferred

             the Dent,        Bechtel ,         and Wallev actions to this Court for coordinated

             or consolidated pretrial proceedings .                                   (Transfer Order Dated June

             21,    2002 .)

                     On August            8,    2002,    the    Court held            an     Initial    Conference         for

             the    consolidated                proceedings .             On   August         16,    2002,        the   Court

             memorialized certain oral Orders issued at the Initial Conference,

             including         the         appointment          of        lead        and     liaison        counsel       for

             Plaintiffs           and     Funeral       Home    Defendants            and    the    identification of

             lead    counsel         for        the    Tri-State         Defendants .             (Order     of    Aug .   16,

             2002 .)

                     On   July       9,        2002,    Plaintiffs          filed       their       initial       Motion    to

             Certify Class Action .                    On October 15,            2002,       after Plaintiffs filed

             their Master First Amended Class Action Complaint, Plaintiffs filed

             their Amended Motion to Certify Class Action .                                       On December 16,          17,

             and    18,    2002,          the     Court      held    a     hearing          concerning        Plaintiffs'

             Motion to Certify Class Action .



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                       On March 17,          2003, the Court entered an Order granting in part

           and        denying     in      part       Plaintiffs'             Motion     to    Certify     Class Action .

           (Order          of   Mar .     17,    2003 .)          In    particular,           the    Court     allowed   the

           following claims to proceed on a class-wide basis :                                          (1)    Plaintiffs'

           claims for breach of contract ;                              (2)    Plaintiffs'          negligence' claims ;

           (3)        Plaintiffs'         claims       for willful              interference with              remains and

           intentional            infliction of emotional                          distress ;    and    (9)    Plaintiffs'

           claims for negligent                      interference with remains and mishandling of

           a corpse .            (Id .)

                       On August 7,          2003, Wilson & Sons                    filed its Motion for Summary

           Judgment .           Wilson & Sons argues that no genuine dispute exists with

           respect         to    any    of      the    claims          asserted by           Plaintiffs       Bechtel    and

           Yockel .=

                      B.        Summary Judgment Standard

                       Federal      Rule        of    Civil        Procedure           56(c)        authorizes     summary

           judgment             when         all        "pleadings,                  depositions,             answers     to

           interrogatories,                  and       admissions             on      file,     together         with    the

           affidavits,           if any,         show that there is no genuine issue as                             to any

           material         fact and that the moving party is entitled to a                                       judgment

           as a matter of law ."                     Fed .   R.    Civ .      P.    56(c) .     In short,       everything


                 z
                 Defendant Wilson & Sons has stated that its Motion for
           Summary Judgment "was never intended to encompass any other
           Plaintiff or potential Plaintiff other than Carol Bechtel and
           Paula Yockel ."   (Def . Wilson & Sons' Reply Br . Supp . Mot . Summ .
           J . at 2 .) The Court therefore will not address the claims of any
           other Plaintiffs or potential Plaintiffs in this Order .

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              in the       record must              demonstrate the         absence of a genuine                      issue of

              material fact .                Herzog v . Castle Rock Entertainment ,                         193 F .3d 1291,

              1296       (11th Cir .         1999) .

                        The     party         seeking        summary      judgment          bears       the      burden        of

              demonstrating the absence of a genuine dispute as to any material

             (fact .       Herzoa ,          193    F .3d    at   1296    (citing Adickes              v.    S .H .    Kress    &

             i Co .,     398   U .S .    144       (1970)) .      The party requesting summary judgment

              ",always bears the initial responsibility of informing the district

              court of the basis of its motion,                          and identifying those portions of

              the       pleadings,             depositions,          answers         to        interrogatories,               and

              admissions on file,                   together with the affidavits,                      if any,        which it

              believes          demonstrate           the    absence      of   a     genuine      issue of            material

              fact ."'         Graham v .          State     Farm Mut .    Ins .      Co . ,    193    F .3d    1279,        1281

               (11th Cir .        1999)        (quoting Celotex Corp .               v.   Catrett ,         977 U .S .       317,

              323      (1986))       (internal quotation              marks omitted) .                "The movant[]           can

              meet this          burden by presenting evidence                        showing that             there     is    no

              dispute of material                    fact,     or by showing that               the    nonmoving         party

              has      failed        to present        evidence      in    support        of some element               of    its

              case on which it bears the ultimate burden of proof ."                                          Id .    at 1281-

              82 .       "There         is   no     requirement,         however,         `that       the    moving      party

              support          its      motion       with      affidavits       or    other       similar         materials

              negating the opponent's claim ."' Id .                           at 1282         (quoting Celotex ,             477

              U .S .    at 323) .

                        Once the moving party has supported its motion adequately,                                            the



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              non-movant has             the burden of showing summary judgment                                    is improper

              by      coming     forward         with     specific           facts         that        demonstrate                 the

              existence of a genuine issue for trial .                                 Graham ,       193 F .3d at 1282 ;

              Matshusita         Elec .    Indus .    Co .   v.    Zenith         Radio Corp . ,              475      U .S .    574,

              587     (1986) .     The non-moving party "need not present evidence                                               in a

              form necessary for admission at trials                              however,            he may not merely

              rest on his pleadings ."                   Graham ,        193 F .3d at 1282 .

                       After the non-moving party properly has responded to a proper

              motion      for    summary        judgment,      the       Court may grant                     the    motion         for

              summary judgment             if the Court concludes                      that    there          is no, genuine

              issue       of material       fact      and    that        the moving           party          is    entitled         to

              summary judgment             as   a matter      of     law .        St .    Charles            Foods,        Inc .    v.

              America's Favorite Chicken Co . ,                    198 F . 3d 815,            819      (11th Cir .          1999) .

              When making         this determination,               the Court must                    view        the evidence

              and all factual inferences in the light most favorable to the party

             lopposing the motion .               Hinson v .        Edmond ,        192     F .3d 1342,             1348        (11th

              Cir .    1999) ;    St .    Charles       Foods .    Inc . ,       198     F .3d at        819 .         The Court

              also must "`resolve all reasonable doubts about the facts in favor

              of    the    non-movant ."'         St .    Charles          Foods,         Inc . ,      198        F .3d    at      819

              (quoting United of Omaha Life Ins .                          v .   Sun Life            Ins .    Co . ,      894    F .2d

              1555     (11th     Cir .     1990)) .        Additionally,                 "`[i]f        reasonable               minds

              might differ on the inferences arising from undisputed facts,                                                      then

              the     court     should     deny      summary      judgment ."'                Id .      (quoting          Warrior

              Tombiabee Transp . Co . v . M!V Nan Fung ,                         695 F .2d 1294,               1296-97          (11th



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         Cir .     1983'))           (alteration            in     original) .               Moreover,             "credibility

         determinations,                   the     weighing            of     evidence,            and       the     drawing           of

         inferences from the facts are the function of the jury ."                                                           Graham ,

         193     F .3d    at         1282 .       Finally,          "[i]f           the    record           presents         factual

         issues, the court must not decide them ;                                     it must deny the motion and

         proceed to trial ."                     Herzoa ,        193    F .3d at          1246 .

                 When considering motions for summary judgment,                                                  the Court dues

         not     make    decisions               as    to    the   merits           of    disputed           factual         issues .

         Anderson v .           Liberty Lobby,               Inc . ,    477 U .S . 242,            299       (1986) ;       Rvder v .

         Int'1 Corp .           v.       First Am . Nat'1 Bank ,                   943 F,2d 1521,            1523         (11th Cir .

         1991) .     Rather,             the Court only determines whether genuine issues of

         material        fact            exist        to    be   tried .            Graham ,          193        F .3d     at    1282 .

         Applicable substantive law identifies those facts that are material

         and     those that              are     irrelevant .               Id .     Disputed          facts        that        do    not

         resolve or affect the outcome of a suit properly will not preclude

         the entry of             summary judgment .                   Anderson ,          477     U .S .    at    298 .

                 In addition to materiality,                                the Court also must                    consider the

         genuineness            of the alleged dispute .                            Graham ,       193      F .3d at       1282 .       A

         dispute is genuine if "the evidence is such that a reasonable jury

         could     return            a    verdict          for   the        nonmoving          party ."'           Id .     (quoting

         Anderson ,       477         U .S .     at    298) .      The       non-movant            "'must          do more           than

         show     that     there           is     some      metaphysical                 doubt      as      to     the     material

         facts ."'       Id .        (quoting Matsushita ,                    975     U .S .     at    586) .            "Where       the

         record taken as a whole could not lead a rational trier of fact                                                               to



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              find    for    the    non-moving           party,           there          is    no     `genuine         issue      for

              trial ."'       Matsushita ,           475 U .S .          at 587      (quoting First Nat'1 Bank v,

             -amities     Serv .    Co . ,     391    U .S .     253,         289        (1968)) .      The      standard         for

              summary judgment thus mirrors the                                "standard necessary to direct a

              verdict :      `whether the evidence presents a sufficient disalgreement

              to require submission to a jury or whether it is so one-sided that

              one party must prevail                  as    a matter               of law ."'        Graham ,      193   F .3d at

              1283    (quoting Anderson ,               477 U .S .            at   Z51-52) .

                     C.      Discussion

                     Defendant Wilson & Sons argues that no genuine dispute exists

              with respect to the claims asserted against it by Plaintiffs Carol

              Bechtel       and    Paula      Yockel .         According to                   Defendant Wilson ~&            Sons,

              the    Court        should        dismiss        the        claims              asserted         against       it   by

              Plaintiffs Carol Bechtel                     and      Paula Yockel                because :       (1)    Georgia's

              six-year statute of limitations bars the breach of contract claims

              asserted       by     Plaintiffs             Carol          Bechtel             and     Paula       Yockel ;        (2)

              Georgia's       four-year            statute          of    limitations               bars    the       claims      for

              negligence,         negligent interference with remains and mishandling of

              a   corpse,     and       willful       interference                 with       remains      and     intentional

              mishandling          of   a     corpse ;     (3)       Plaintiffs               Carol     Bechtel        and   Paula

              Yockel have suffered no recognizable damage permitted under Georgia

              law    with    respect          to     their       claims            for     negligence           and    negligent

              mishandling          of       remains ;       (9)       Defendant                Wilson      &     Sons    has      no

              liability       for       the    actions         of    Tri-State                Crematory,        which     was     an



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                 independent contractor ;                         and    (5)     no evidence supports the claim of

                 willful interference with remains and intentional mishandling of a

                 corpse,        because no evidence indicates that Defendant Wilson & Sons

                 intentionally and willfully mishandled the decedents of Plaintiffs

                 Carol       Bechtel            and    Paula            Yockel .             The        Court     addresses            those

                 arguments in turn .

                                    1 .      Whether the Six-Year Statute o£ Limitations Bars
                                             the  Breach   o£   Contract  Claims  Asserted by
                                             Plaintiffs Carol Bechtel and Paula Yockel

                          O .C .G .A .      §      9-3-24         provides :           "All        actions         upon        promissory

                 notes,       drafts,           or    other         simple           contracts            in    writing         shall        be

                 brought         within      six      years after the                   same       become due            and payable ."

                 O .C .G .A . § 9-3-24 .              "`Under Georgia law,                       the statute of limitations

                 runs from the time the contract                                 is broken and not at the time the

                 actual damage results or is ascertained ."'                                             Owen v .       Moblev Constr .

                 Co.,     171      Ga .    App .      962,        462,     320       S .E .2d      255,     256        (1589)       (quoting

                 mace       Leasing         Assocs .         v.    Atl .       Blda .       Sys . ,      149    Ga .    App .       320,    291

                 S .E .2d    438        (1977))       (internal            citations             omitted) ;        accord           Moore    v.
             I
                 Dot .      of Human Res . ,            220 ,a .         App .       471,     472,       969 S .E .2d 511,            512-13

                 (1996) .        "The discovery rule is not applicable to a cause of action

                 based      on     breach        of    contract ."               Moore ,          220    Ga .    App .    at        972,    969

                 S .E .2d at        512-13         (citing Owen ,              171 Ga .          App .   at     462,     320    S .E .2d at

                 255) .

                          The funeral arrangements contract for Plaintiff Paula Yockel's

                 father,         Mr .     Schuchman,          was        executed           in    December         1992        or    January



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             1993 .    Mr .    Schuchman died on December 29,                  1992 .        Any alleged breach

             of the contract for cremation services for Mr .                                Schuchman therefore

             occurred         in    December     1992    or     January            1993 .      The     statute      of

             limitations           for a breach of contract claim based on that contract

             expired         either     in    December        1998     or      January         1999 .Because

             Plaintiffs did not file this lawsuit until February 2002,                                    the six-

             year statute of limitations bars Plaintiff Paula Yockel's breach of

             contract claim .

                      Plaintiff Carol Bechtel's father,                     Mr .    Swofford,       died on April

             9,   1993,       and   Plaintiff     Carol       Bechtel       executed          the    contract      for

             funeral arrangements for Mr .                Swofford in April 1993 .                    Any :, alleged

             breach of that contract occurred in April 1993,                                 and the statute of

             limitations expired in April 1999 .                     Because Plaintiffs did not file

             this      lawsuit        until     February       2002,        the       six-year        statute       of

             limitations bars Plaintiff Carol Bechtel's breach of contract claim

             relating to Mr .          Swofford .

                      Plaintiff       Carol    Bechtel    executed          the      pre-need        contract      for

             funeral arrangements              for her mother,           Mrs .      Swofford,        in May    1999 .

             Mrs .    Swofford died          on April    30,    1995 .       Any alleged breach               of the

             contract        for cremation       services       thus     occurred           in April or May         of

             1995,     and    the    statute    of   limitations         expired            in April    or   May    of

             2001 .    Because Plaintiffs did not file this lawsuit until February

             2002,     the     six-year       statute    of    limitations            bars     Plaintiff       Carol

             Bechtel's breach of contract claim relating to Mrs .                                   Swofford .



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                     The Court           finds that        fraudulent concealment                      is not available

             to toll       the statute of limitations with respect to the claims                                                for

             breach of contract               asserted          by    Plaintiffs            Paula Yockel              and Carol

             Bechtel .           Under     O .C .G .A .    §     9-3-96,           the      statute        of     limitations

             applicable to           a    plaintiff's           claim may be               tolled      if    the plaintiff

             can show "`(1)          actual fraud on the part of the defendant involving

             moral    turpitude,           (2)    which conceals the existence of the cause of

             action from the plaintiff, and (3)                            plaintiff's reasonable diligence

             in discovering his               cause of action,                 despite          his    failure to             do so

             within        the    time      of     the     applicable                statute         of     limitations ."'

             Gripper v .         STO Corp . ,      250 Ga .          App .    820,       829,    552      S .E .2d 118,         123

             (2001)    (quoting McClung Surveying,                           Inc .    v.    Worl ,    247 Ga .        App .    322,

             324,    591 S .E .2d 703            (2000))       (citations omitted) .                      Plaintiffs          Paula

             Yockel    and        Carol      Bechtel       have         failed        to     adduce         any        evidence

             showing an actual              fraud on the part of Defendants involving moral

             turpitude       that        concealed the           existence of               the breach of contract

             causes of action from Plaintiffs                              Paula Yockel and Carol Bechtel .

                     For    those        reasons,         the    Court         concludes             that       the    six-year

             statute of limitations bars the breach of contract claims asserted

             by Plaintiffs Paula Yockel and Carol Bechtel .                                      The Court therefore

             grants the Motion for Summary Judgment filed by Defendant Wilson &

             Sons    with    respect        to    those claims .                The        Court      observes         that     its

             ruling    addresses            only     the       breach         of     contract          claims         filed      by

             Plaintiffs Paula Yockel and Carol Bechtel,                                     and that         the Court has



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              not determined whether the six-year statute of limitations bars the

              breach of contract claims asserted by other Plaintiffs or potential

              Plaintiffs .'

                                 2 .    Whether the Four-Year Statute of Limitations Bars
                                        the Claims for Negligence, Negligent Interference
                                        with Remains and Mishandling of a Corpse,     and
                                        Willful Interference with Remains and Intentional
                                        Mishandling of a Corpse Asserted by Plaintiffs
                                        Paula Yockel and Carol Bechtel

                        Defendant Wilson & Sons                  next argues that a four-year statute

              of       limitations       applies          to    the   claims         for     negligence,         negligent

              interference with remains and mishandling of a corpse,                                         and willful

              interference with remains and intentional mishandling of a corpse
                                                                                                                  i
              asserted by Plaintiffs                  Paula Yockel and Carol Bechtel .                           According

              to Defendant             Wilson    &    Sons,      the next        of    kin    of   a   deceased have        a

              quasi-property             right       in   the    body      of    a   deceased,         and   a   four-year

              statute       of     limitations         applies        to   claims      relating         to   that     right .

              Defendant           Wilson    &    Sons          contends         that    claims         for   negligence,

              negligent          interference with               remains        and mishandling of               a   corpse,

              and willful interference with remains and intentional mishandling



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                    Defendant Wilson & Sons also argues that Plaintiff Paula
              Yockel's breach of contract claim fails because Plaintiff Paula
              'tockel lacks privity of contract and was not an intended third-
              party beneficiary to any contract with Defendant Wilson & Sons,
              and that Plaintiffs Paula Yockel and Carol Bechtel cannot prove
              that    Defendant  Wilson   &   Sons  breached   its   contractual
              obligations .  Because the Court has concluded that the statute of
              limitations bars the breach of contract claims asserted by
              Plaintiffs Paula Yockel and Carol Bechtel, the Court does not
              address Defendant Wilson & Sons' other arguments .

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             of a corpse accrue when a cremation is not performed properly .

                     The     Court        disagrees           with    the     position       taken     by    Defendant

             Wilson      &    Sons .         Plaintiffs'             claims        for    negligence,        negligent

             interference with remains and mishandling of a corpse,                                       and willful

             interference with remains                        and intentional mishandling of a corpse

             are tort        claims .        Under Georgia             law,    a    tort    cause of      action does

             not     accrue          until      the        plaintiff        sustains        damage .         Mears    v.

             Gulfstream Aerospace Corp . ,                     225 Ga .     App .    636,    638,   989 S .E .2d 659,

             663    (1997) .         In    this       case,    Plaintiffs          Yockel and Bechtel            did not

             sustain         damage       until        February       2002,        when     officials       discovered

             uncremated bodies on the Tri-State Crematory property .                                         The Court

             therefore cannot grant summary judgment to Defendant Wilson & Sons

             based    on      its     argument         that     the    statute       of     limitations       bars   the

             claims    for          negligence,            negligent        interference        with      remains    and

             mishandling of a corpse,                      and intentional interference with remains

             and    mishandling            of     a    corpse     asserted          by    Plaintiffs        Yockel   and

             Bechtel .

                              3 .      Whether Plaintiffs Have Incurred Cognizable Damages
                                       for  their  Claims  of Negligence and Negligent
                                       Interference With Remains and Mishandling of a
                                       Corpse

                     Defendant            Wilson       &   Sons   next      contends        that    the     claims   for

             negligence and negligent interference with remains and mishandling

             of a corpse asserted by Plaintiffs Bechtel and Yockel fail because

             Plaintiffs Bechtel and Yockel have not suffered cognizable damages

             in connection with                 those claims .             Defendant        Wilson   &    Sons    argues

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              that :    (1)    Plaintiffs Bechtel and Yockel seek to recover for damages

              associated          with        negligent        infliction          of       emotional         distress,      yet

              Plaintiffs Bechtel and Yockel have not suffered a physical impact ;

              and    (2)      Plaintiffs Bechtel                and Yockel         cannot          recover for damages

              resulting           from         their        uncertainty            and        fear       concerning          the

              disposition of their decedents'                           bodies .

                                        a .         Negligent Infliction of Emotional Distress

                       Under Georgia law,                 a plaintiff may recover emotional distress

              damages       if    the      emotional         distress           claim       arises       from    intentional

              misconduct          of    the         defendant         or    from       the     defendant's           feckless

              indifference to consequences that was equivalent to intents                                                  David

              C.    Joel,     Attorney at Law,               P .C .   v.    Chastain ,        259 Ga .     App .    592,    596-

              97,    562 S .E .2d 746,           750      (2002) .         A plaintiff may recover emotional

              distress        damages          in    a   claim        involving        negligent          conduct      if    the

              plaintiff          shows :      "(1)       physical       impact         to    the    plaintiff ;       (2)    the

              impact        causes      physical            injury         to    the        plaintiff ;       and    (3)     the

              physical         injury          causes        the       plaintiff's             mental         suffering       or

              emotional distress ."                   Holbrook v .          Stansell ,        259 Ga .     App .    553,    559,

              562 S .E .2d 731,            733      (2002) .       Alternatively,              the plaintiff seeking

              emotional distress damages in connection with negligent conduct may

              show that she suffered property damage that resulted in a pecuniary

              loss     to her .        Shores v .         Modern Trance .          Servs . .        Inc . ,     262 Ga .    App .

              293,     295,    585     S .E .2d      669,    665      (2003) .

                      The     Court      finds        that     Plaintiffs         Yockel           and   Bechtel     may     not



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             recover         emotional      distress          damages      based      on      Defendant         Wilson    &

             Son's negligent conduct .                  Plaintiffs Yockel and Bechtel have failed

             to present evidence               showing that             they    suffered a physical                impact

             causing physical injury to them that                             resulted in mental                suffering

             or emotional distress .                 Plaintiffs Yockel and Bechtel also have not

             demonstrated            that     they      suffered         property        damage          resulting       in

             pecuniary loss .              Under those circumstances,                   Plaintiffs Yockel               and

             Bechtel       simply cannot recover emotional distress damages based on

             alleged         negligent      conduct       by     Defendant        Wilson       &    Sons .       Hang    v.

             Wages     L     Sons    Funeral      Home,       Inc . ,   262    Ga .   App .    177,       179-182,      585

             S .E .2d 118,       120-22       (2003)      (granting summary judgment                      on claim for

             emotional distress damages arising from alleged negligent cremation

             of    decedent ;         plaintiffs         had      not    sustained         physical            injury    or

             pecuniary        loss,     and    had      not    proven     that     defendant         funeral       home's

             conduct was malicious, willful,                        or wanton) .

                                      b,      Fear and Uncertainty

                      Defendant Wilson & Sons also argues that Plaintiffs Yockel and

             Bechtel cannot recover damages based on their fear and uncertainty

             concerning        the     ultimate disposition                of    their decedents'                remains .

             Plaintiffs Yockel              and   Bechtel         have    presented        evidence            indicating

             that :    (1)    a number of bodies discovered at the Tri-State Crematory

             property remain unidentified ;                      (2)    a number of remains                   received by

             other     families       were     the      incorrect        remains      or do        not    appear    to be

             the   correct          remains       and    (3)     the     remains      received           by    Plaintiffs



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             Yockel and Bechtel              are human,        but     testing could not determine the

             identity of the          remains .

                     To recover damages,             "there must be some reasonable connection

             between the act or omission of a defendant and the damages which a

             plaintiff has suffered ."                   Russaw v .         Martin ,        221 Ga .   App .    X83,   686,

             472 S .E,2d 508,         511     (1996) .      "Without factual evidence of a causal

             connection       between        the    alleged       breach          of    duty     and   the     purported

             damages,      the     damages      must      be   considered              whimsical,        fanciful         and

             above all too speculative to form the basis of recovery ."                                             221 Ga .

             App .   at   686,    472 S .E .2d at         511 .

                     In Russaw ,     a plaintiff who suffered a "needle stick" sPught to

             recover      for      damages      relating          to        her    fear        that    she      may    have

             contracted HIV or hepatitis from the "needle stick ."                                       221 Ga .      App .

             at    684,   472     S .E .2d    at    510 .      The      plaintiff,             however,        failed      to

             produce evidence indicating that :                        (1)     the needle was contaminated

             with HIV or hepatitis ;               (2)    the plaintiff or her husband had tested

             positive      for HIV or hepatitis ;                 or   (3)     the elderly patient on whom

             the needle previously had been used had tested positive for HIV or

             hepatitis .         221 Ga . App .      at 686,       972 S .E .2d at 511-12 .                The Georgia

             Court    of Appeals noted,             "To allow recovery for emotional injuries

             and     mental       anguish,         without        any        proof       whatsoever            that     [the

             plaintiff]       was     actually        exposed          to    HIV       or    hepatitis         is   per    se

             unreasonable ."          221 Ga .      App .   at 686,          472 S .E .2d at 512 .             The court

             therefore refused to allow the plaintiffs to recover for their fear



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              and mental anguish .                    221 Ga .      App .     at    686,    972 S .E .2d at        512 .

                      Similarly,             in Johnson v .         American National Red Cross. ,                    276 Ga .

              270,    578         S .E .2d    106    (2003),       the      Georgia        Supreme Court        refused       to

              allow      a    plaintiff             to    recover       for    damages        for    feat     and     anguish

              resulting             from      the        plaintiff's          concern        that     she      might        have

              contracted a rare strain of HIV from a blood transfusion .                                              276 Ga .

              at 275,        578       S,E .2d at 110 .           The court observed that                    the plaintiff

              had not produced evidence indicating :                                (1)    that the blood donor was

              infected with any form of HIV or that the donor had experienced any

              experiences of HIV ;                   or    (2)   that     the plaintiff had tested positive

              for     HIV         or     that       the    plaintiff          had     experienced            any     symptoms

              consistent            with      HIV exposure           or     infection .        276    Ga .    at    275,     578

              S .E .2d       at     110 .       Under      those     circumstances,            the    Georgia        Supreme

              Court concluded that the plaintiff's fears were not reasonable, and

              that    the plaintiff                 consequently could not                  recover damages related

              to those         fears .

                      In      this       case,      Plaintiffs          Yockel       and    Bechtel     have       presented

              evidence indicating that the remains of their loved ones have been

              tested and that the remains are presumably human remains,                                              but that

              the    remains           cannot       be    identified .          Plaintiffs          Yockel    and     Bechtel

              also     have          adduced         evidence        showing          that    many     of      the       bodies

              discovered               on    the     Tri-State          Crematory          property     could         not    be

              identified,              and    that        several     of      the    remains        received        by     other

              families        were          improperly       identified or             contained       foreign matter .



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              Under these circumstances,                     Plaintiffs Yockel and Bechtel have shown

              that    a   reasonable         possibility                 exists       that       they    may    not     have

              received     the      remains        of    their          respective         decedents .         The    Court

              therefore      finds         that        the    fear        and      uncertainty          experienced        by

              Plaintiffs Yockel and Bechtel are not unreasonable .

                                      c.     Summary

                     I r, sum,     the Court finds that Plaintiffs Yockel and Bechtel may

              not    recover damages          for emotional                 distress       caused by the          alleged

              negligence of Defendant Wilson                        &     Sons .     The Court,         however,      finds

              that   a    genuine      dispute          exists       whether         the     fear   and    uncertainty

              experienced by Plaintiffs Yockel and Bechtel were reasona¢ le .                                              In
                                                                       I
              any event,        the   Court observes that                    even if       Plaintiffs          Yockel    and

              Bechtel     cannot      recover damages                for     fear and uncertainty or                  other

              emotional distress damages related to their claims                                        for negligence

              and    negligent        interference             with         remains        and    mishandling         of    a

              corpse,     Plaintiffs         Yockel          and    Bechtel          still may       recover      nominal

              damages for those claims .                     The Court therefore cannot grant summary

              judgment     to     Defendant Wilson              &    Sons based on its              contention that

              Plaintiffs          Yockel     and       Bechtel          cannot       prove       damages       for    their

              negligence and negligent                   infliction             of   interference         with    remains

              and mishandling of a corpse claims .

                            4 .       Whether Defendant Wilson & Sons May Be Held Liable
                                      for the Actions of Tri-State Crematory

                     Defendant        Wilson       &    Sons next          argues      that      it may not be          held

              liable for any of the actions of Tri-State Crematory .                                      According to

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             Defendant           Wilson &         Sons,      Tri-State Crematory was                       not       an    agent       of

             Defendant Wilson & Sons,                        but rather was an independent contractor .

                     O .C .G .A . § 10-6-1 provides : "The relationship of principal and

             agent       arises           whenever       one     person,           expressly        or     by     implication,

             authorizes another to act for him or subsequently ratifies the acts

             of another              on    his   behalf ."            O .C .G .A .    §     10-6-1 .       "`Agency             is    the

             relationship which results by the manifestation of consent by one

             person        to        another      that       the      other        shall      act    on     his        behalf         and

             subject        to       his    control,         and       consent        by     the    other       so      to      act ."'

             Johnston           v.    Warendh ,        252     Ga .    App .     679,       679,    556    S .E .2d        867,       872

             (2001)        (quoting           Smith v .        Merck ,       206     Ga .    361,    368,       57     S .E .2d       326

             (1950)) .            "An      agency       relationship               `may     refer,        and    perhaps             most

             often does, to that relation created by express or implied contract

             or    by     law,        where      one     person         delegates           the     transaction                of    some

             lawful business with more or less discretionary power to another,

             who undertakes                to manage the              affair and            render     to him an               account

             thereof ."'              252 Ga .    App .      at 679,        556 S .E .2d at 872              (quoting Smith ,

             206    Ga .        at     368,      57    S .E .2d       326) .         A      plaintiff        may       prove          the

             existence               of    an    agency          relationship               "through         circumstances,

             apparent relations, and the conduct of the parties ."                                                252 Ga .           App .

             674,       679,     556       S .E .2d     867,     872,           Whether       an    agency        relationship

             exists        is    a    factual         question .          S .   Exposition Mamt .               Co .      v.    Genmar

             Indus .,       Inc . ,       250 Ga .     App .     702,     709,       551    S .E .2d 830,         832      (2001) .

                     To     determine            whether         Tri-State           Crematory         was      the       agent        or



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              independent              contractor of              Defendant Wilson                 &   Sons,    the Court must

              examine         whether           Defendant          Wilson         &     Sons       assumed          the    right          to

              control        the time,           manner,       and method in which Tri-State Crematory

              performed            its      work .      Williamson           v.       Coastal          Physicians         Servs .         of

              Southeast,           Inc . ,     251 Ga . App .         667,    668,       554 S .E .2d 739,            741       (2001) .

              Here,        the evidence in the record indicates that Defendant Wilson &

              Sons :       (1)        did      not    control         the     time           for       performing          crematory

              services ;              (2)    did      not     direct         Tri-State              Crematory         to        perform

              crematory services in a certain manner or to use certain equipment

              to perform crematory services                             and       (3)    did not control the method

              in which Tri-State Crematory performed crematory servicesr                                                            Under

              those         circumstances,                  Tri-State         Crematory                was     an     independent

              contractor,              and was not an agent of Defendant Wilson & Sons .

                       A     defendant               generally        has         no     responsibility                   for       torts

              committed by an independent contractor .                                        O .C .G .A .     § 51-2-9 ;        Nulite

              Indus .       Co .      v.    Horne ,    252     Ga .   App .       378,        379,      556    S .E .2d     255,         257

              (2001) .        Under Georgia law,                   however,           a defendant may be liable for

              the negligence of a contractor under circumstances,                                               including :          "(1)

              [w]hen the work is wrongful                          in itself or,                if done in the ordinary

             I manner,       would          result      in    a    nuisance ;           (2)        [i]f,      according         to       the

              [defendant]'s                 previous        knowledge         and       experience,             the   work          to    be

              done      is       in      its    nature        dangerous            to    others            however         carefully

              performed ;             (3)    [i]f     the    wrongful         act       is    the      violation          of    a    duty

              imposed        by       express         contract        upon    the        [defendant] :              (4)     [i]f         the



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             wrongful         act         is    the        violation        of a       duty       imposed by            statute ;             (5)

             [i]f     the      [defendant]                  retains       the     right          to   direct       or       control           the

             time     and manner                of    executing           the     work       or       interferes            and     assumes

             control         so    as      to create           the     relation of master and servant                                    or    so

             that an injury results which is traceable to his                                                   interference ;                 or

             (6)     [i]f      the        [defendant]               ratifies        the     unauthorized                wrong of              the

             independent contractor ."                             O .C .G .A .    § 51-2-5 .

                     Here,         the contracts                  for funeral           services           signed by Defendant

             Wilson & Sons, by their nature,                                imposed a duty on Defendant Wilson

             &    Sons    to       ensure           proper         performance             of     the     cremation            services .

             Defendant Wilson                   &    Sons could not               escape liability for inadequate

             performance             of        that         duty     by    assigning              the     task         of    performing

             cremation            services            to     an     independent            contractor .                Nulite        Indus .

             Co.,    252 Ga . App .              at 379,          556 S .E .2d at 257 ;               Sacker v .         Perry Realty

             Servs .,        Inc . ,      217       Ga .    App .    300,       302,       457    S .E .2d      208,        ?_11    (1995)

             Crispens Enters . .                    Inc .    v.    Halstead ,        209 Ga .          App .    133,        134-35,           933

             S .E .2d 353,          355         (1993) .

                     The evidence in the record,                             viewed in the light most favorable

             to     Plaintiffs                 Yockel         and       Bechtel,            indicates             that         Tri-State

             Crematory            failed         to     perform        cremation            services           properly .                Given

             this evidence,                a genuine issue exists concerning whether Defendant

             Wilson      &    Sons         is       responsible           for     the      alleged            negligence            of    Tri-

             State       Crematory .                 Nulite         Indus .       Co . ,    252        Ga .    App .     at        379,       556

             S .E .2d at          257 .        Defendant Wilson & Sons therefore                                  is not entitled



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            to summary judgment based on its argument that it has no liability

            for the actions o£ Tri-State Crematory .

                    Alternatively,           a    defendant      also          may     be    held      liable      for      the

            acts of an independent contractor who is performing the defendant's

            non-deiegable          statutory duty .             Kroger          Co .   v.     Strickland ,         298      Ga .

            App .   613,        614-15,     548    S .E .2d     375,        377-78          (2001) .         The   Georgia

            legislature          has    enacted        a   comprehensive               statutory             scheme      that

            imposes duties on funeral homes and funeral directors .                                          O .C .G .A .    §§

            93-18-1        through        93-18-79 .           One        of    those        duties       includes           an

            obligation to ensure                 that bodies         are       labeled and tagged properly .

            C .C .G .A .   §    93-18-8 .        Defendant Wilson               &   Sons could          not    avoid its

            statutory duties simply by contracting with Tri-State Crematory to

            perform the cremation services .

                    The evidence in this case,                  viewed in the light most favorable

            to Plaintiffs Yockel and Bechtel,                        indicates that bodies and remains

            were not        labeled and tagged             properly at              the     Tri-State         Crematory .

            Under     those       circumstances,           a   genuine           dispute        exists        concerning

            whether Defendant Wilson & Sons may have liability for the wrongful

            acts of Tri-State Crematory .

                    The        Court,     however,         rejects             Plaintiffs'             argument          that

            cremation          is an unreasonably dangerous activity .                              A defendant may

            have    liability          for the     actions      of an          independent          contractor           when

            the independent contractor is performing work that,                                        because of its

            nature,        is   dangerous         to   others        no    matter         how    it     is    performed .



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             O .C .G .A .    §      51-2-5(2) .         The      question          whether           an    activity       is    an

             ultrahazardous             or   abnormally dangerous                      activity           is   a    question    of

             law .     O'Neal v .       Int'1 Paper Co . ,             715 E .2d 199,          201         (5th Cir .    1983) ;

             Edwards v .         Post Transp . Co . ,            279 Cal . Rptr . 231, 232                     (Cal . Ct . App .

             1991) .        An    activity      is     ultrahazardous                  or abnormally dangerous                  if

             the activity "cannot be performed safely even in the absence of all

             negligence and with the exercise of all reasonable care ."                                                Clark v .

             Container Corp .            of Am .,      Inc . ,    936 F .2d 1220,             1225         (11th Cir .    1991)

             (applying Alabama               law) ;     O'Neal ,       715        F .2d at    202         ("Central      to    the

             concept of ultrahazardous activity,                              .    .    .   is that there be a risk

             of    harm      that      cannot     be     eliminated            through        the         exercise      of     due

             care .") .          The   evidence        in   the       record,          however,       demonstrates            that

             cremation           is    not   dangerous           to    others          if   proper         precautions         are

             taken .      The Court therefore will not impose liability on Defendants

             based      on    Plaintiffs'            argument          that       cremation           is       an    abnormally

             dangerous activity .

                              5 .       Whether a Genuine Dispute Exists With Respect to the
                                        Claim for Willful Interference With Remains and
                                        Mishandling of a Corpse Asserted by Plaintiffs
                                        Yockel and Bechtel

                      Defendant Wilson & Sons also argues that no genuine dispute

             exists       with        respect    to     the       claim      for        wilful       interference             with

             remains and mishandling of a                        corpse asserted by                   Plaintiffs Yockel

             and     Bechtel .          According to Defendant Wilson                            &    Sons,         no evidence

             indicates that Defendant Wilson & Sons intentionally mishandled the

             corpses of Plaintiffs Yockel and Bechtel's decedents .

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                         Plaintiffs Yockel            and Bechtel have                  failed to adduce evidence

             indicating           that     Defendant          Wilson          &     Sons        itself      intentionally

             mishandled the corpses of their respective decedents .                                          The evidence

             in         the   record,    however,           viewed       in   the        light      most     favorable     to

             Plaintiffs Yockel and Bechtel,                         indicates that Tri-State Crematory

             intentionally mishandled corpses or acted with                                         reckless disregard

             with respect to those corpses .                         As discussed su ra Part III .C .9 .,

             a genuine dispute exists concerning whether Defendant Wilson & Sons

             may         be   responsible            for    the    actions              of     Tri-State      Crematory .'

             Defendant          Wilson     &    Sons       therefore      cannot             obtain      summary    judgment

             with respect to the claims                      for wilful            interference with the right

             of      burial      and     intentional          mishandling               of     a   corpse    asserted      by

             Plaintiffs Yockel and Bechtel .




             IV .        Conclusion

                         ACCORDINGLY,          the    Court       GRANTS          IN    PART       AND    DENIES    IN   PART

             Defendant          W .L .   Wilson       &    Sons    Funeral             Home's      Motion     for    Summary


                    a
                         Defendant Wilson & Sons argues that O .C .G .A . § 51-2-5
                    does not impose liability on it for Tri-State Crematory's
                    alleged intentional interference with remains and mishandling
                    of corpses because that statute applies only to negligence of
                    an independent contractor . For two reasons, the Court rejects
                    this argument . First, the Court concludes that O .C .G .A . § 51-
                    2-5 only sets forth a minimum standard for imposing liability
                    for actions of an independent contractor . Second, the Court's
                    decision imposing liability on Defendant Wilson & Sons also is
                    based on the duties that Defendant Wilson & Sons owed under
                    its agreements with Plaintiffs and its relationship with
                    Plaintiffs to dispose of Plaintiffs' decedents properly .

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             Judgment     [459] .        The Court GRANTS the Motion                for Summary Judgment

             with    respect        to    the    breach      of       contract      claims     asserted      by

             Plaintiffs Bechtel            and   Yockel .         The    Court GRANTS        Defendant    W .L .

             Wilson & Sons Funeral Home's Motion to Exceed Page Limit for Reply

             Brief in Support of Motion for Summary Judgment                           [500] .    The Court

             OVERRULES     Defendant        W .L .    Wilson      &   Sons   Funeral   Home's     Notice     of

             Objection     to   Affidavit            of   Plaintiff       Paula     Yockel     [503-1),    and

             DENIES Defendant W .L . Wilson & Sons Funeral Home's Motion to Strike

             Affidavit of Plaintiff              Paula Yockel           [503-2] .

                    IT   IS SO ORDERED,          this     the ~ day of              December,    2003 .




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